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 1   George Wentz, Jr. (Pro hac vice application forthcoming)
     The Davillier Law Group, LLC
 2   414 Church St., Suite 308
     Sandpoint, ID 83864
 3   208-920-6140
     Email: gwentz@davillierlawgroup.com
 4
     Alexander Kolodin (SBN 030826)
 5   Christopher Viskovic (SBN 035860)
     The Davillier Law Group, LLC
 6   3443 N. Central Ave., Suite 1009
     Phoenix, AZ 85012
 7   602-730-2985
     Email: akolodin@davillierlawgroup.com
 8          cviskovic@davillierlawgroup.com
            phxadmin@davillierlawgroup.com (file copies)
 9
10    Attorneys for Plaintiffs

11
                            IN THE UNITED STATES DISTRICT COURT
12
                                 FOR THE DISTRICT OF ARIZONA
13
      Ryan Cox, individually and on behalf of all other
14    similarly situated;                                   Case No.
15                          Plaintiffs,
16           v.
                                                             CLASS ACTION COMPLAINT
17
      CoinMarketCap OpCo, LLC, Binance Capital                     (Jury Trial Demanded)
18    Management Co., Ltd. d/b/a Binance and
      Binance.com, BAM Trading Services Inc.
19    d/b/a Binance.US, Changpeng Zhao, Catherine
      Coley, Yi He, Ted Lin, and Does I-X;
20
                            Defendants.
21
22                                          INTRODUCTION
23      1.        In recent years, various forms of digital assets have come into circulation.
24                Though these assets take many forms, in the popular lexicon they are typically
25                referred to as cryptocurrencies. For the sake of simplicity all digital assets,
26                whether they meet the strict definition of cryptocurrencies, are referred to as
27                such in this Complaint.
28      2.        One such cryptocurrency is HEX.
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 1       3.    Plaintiff alleges that Defendants have worked by various unlawful means to

 2             artificially suppress the value of HEX and artificially inflate the value of other

 3             cryptocurrencies.

 4       4.    This is a class action brought pursuant Rule 23 of the Federal Rules of Civil

 5             Procedure to obtain redress for such conduct.

 6       5.    As set forth at greater length below:

 7             a. Defendant CoinMarketCap OpCo, LLC (“CoinMarketCap.com”) is a coin

 8                   ranking site.

 9             b. CoinMarketCap.com is owned by Defendant Binance Capital Mgmt. Co.,

10                   Ltd. (“Binance”), a cryptocurrency exchange.

11             c. Defendant BAM Trading Services Inc. (“BAM” or “Binance.US”) is

12                   Binance’s US affiliate.

13             d. Binance and Binance.US are also CoinMarketCap.com’s affiliated

14                   exchanges.

15       6.    Nic Carter, a partner at venture capital firm Castle Island Ventures, and co-

16             founder of CoinMetrics.io wrote an article detailing the relationship between

17             exchanges,      coin   ranking   sites,   and   retail   investors.1   He   explains:

18

19             [Rankings sites] occupy a fêted position in the industry. Ostensibly, they perform

20             a useful service to investors and receive little in return aside from ad revenue.

21             But the under-reported reality is more sinister. Rankings sites are squarely at

22             the center of the extractive game that siphons money from retail investors and

23             deposits it into the pockets of altcoin creators and exchange operators.

24

25             ...

26
     1
27    Nic Carter, The Dark Underbelly of Cryptocurrency Markets, NIC CARTER
     (September 3, 2018) https://medium.com/s/the-crypto-collection/a-glimpse-into-the-dark-
28
     underbelly-of-cryptocurrency-markets-d1690b761eaf (last visited Sept. 13, 2021).

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 1         The problem with the [altcoin casino | altcoin issuer | rankings site] troika is

 2         how neatly intertwined all their incentives are, and how poorly-educated users

 3         are about each. In many cases, “exchanges” is a misnomer. These things are

 4         more akin to the bucket shops of the 20s, the boiler rooms of the 80s, or the

 5         unregulated poker sites of the early 2000s, which ran fractional reserves or

 6         granted insiders special access to the hole cards of unwitting players.

 7

 8         Quite simply, most of the crypto-to-crypto exchanges have nothing in common

 9         with exchanges like the NYSE or the NASDAQ. While some investors are aware

10         of this, many mistakenly believe them to have integrity[.]

11   7.    Mr. Carter explains that the “business model of the coin rankings sites” is to

12         generate revenue by linking consumers with affiliated exchanges where they

13         can buy and sell cryptocurrencies:

14         Many if not most exchanges have affiliate schemes, and referral links

15         (“reflinks”) can be a lucrative source of revenue if you are the intermediary

16         between active traders and exchanges.

17         ...

18         Investors go to [coin rankings] sites to find links to exchanges where they can

19         trade their coins of choice, especially if they are smaller projects and do not

20         have many points of liquidity. Since the rankings sites are the ports of call for

21         investors, they have an almost captive audience and can easily monetize with an

22         affiliate link.

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 1   8.    Mr. Carter provides the following graphic to illustrate these relationships:

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                        PARTIES, JURISDICTION, AND VENUE
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     9.    Plaintiff Ryan Cox is, and was at all times relevant hereto, a resident of Yavapai
15
           County, Arizona.
16
     10.   Plaintiff acquired HEX prior to the Suppression Period (defined below).
17
     11.   Plaintiff sold some of his HEX during the Suppression Period.
18
     12.   But the acquisition and sale occurred while plaintiff was physically located in
19
           Arizona.
20
     13.   Defendant CoinMarketCap OpCo, LLC (“CoinMarketCap.com”) is a Delaware
21
           limited liability company. Upon information and belief its nominal headquarters
22
           location is in Delaware. It is widely used by Arizona investors.
23
     14.   According to CoinMarketCap.com:
24
           CoinMarketCap is the world's most-referenced price-tracking website for
25
           cryptoassets in the rapidly growing cryptocurrency space. Its mission is to make
26
           crypto discoverable and efficient globally by empowering retail users with
27
           unbiased, high quality and accurate information for drawing their own informed
28


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 1             conclusions.2

 2       15.   CoinMarketCap.com is sponsored by Blockchain.com.

 3       16.   CoinMarketCap.com was acquired by Binance Capital Mgmt. Co., Ltd.

 4             (“Binance”), a limited liability company, in early of 2020.

 5       17.   CoinMarketCap.com is now a subsidiary of Binance.

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20       18.   In lauding the acquisition Zhao stated: “CoinMarketCap has more users than any
21             other product in the crypto space . . . Even though their money generation
22             mechanism is not as strong as Binance, they do have the users – it’s a very
23             valuable platform.”3
24

25   2
       About CoinMarketCap,COINMARKETCAP, https://coinmarketcap.com/about/ (last
26   visited Aug. 31, 2021).
     3
       William Foxley, ‘They Have the Users’: Binance CEO Explains Why He Bought
27   CoinMarketCap, COINDESK (April 2, 2020), https://www.coindesk.com/binances-
     coinmarketcap-acquisition-is-a-bet-that-crypto-really-is-for-the-masses (last visited Aug.
28
     31, 2021).

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 1       19.   Coindesk reported that Andy Cheung, former chief operating officer at OKEx

 2             and founder of crypto derivative platform ACDX stated that the acquisition was

 3             “‘not very good for the industry’ given the conflict of interest between the

 4             parties’ missions” and that “[Cheung pointed]to Binance’s exchange token,

 5             BNB [AKA Binance Coin], as an example.”4

 6       20.   For its part, CoinMarketCap.com claims:

 7             In April 2020, CoinMarketCap was acquired by Binance Capital Mgmt. Binance

 8             is the global blockchain company behind the world's largest digital asset

 9             exchange by trading volume and users, which shares the common vision of

10             making crypto accessible and systemically important to people all around the

11             world. Through the acquisition, CoinMarketCap plans to tap into its parent

12             company's extensive resources to acquire more in-depth data into projects,

13             reduce information asymmetry in the crypto industry and bring higher-quality

14             data to its hundreds of millions of users.5

15       21.   Coindesk has called CoinMarketCap.com the “dominant data source and go-to

16             platform for asset pricing” in the cryptocurrency space as well as the “first

17             landing page for retail investors[.]” Despite its status as “the first port of call for

18             small retail buyers” Coindesk has also noted that “institutional investors [have]

19             spurned the website, particularly after [a report of misconduct on the part of

20             CoinMarketCap.com was made to the SEC].” Nonetheless, Coindesk notes that

21             “exchanges have always used CoinMarketCap[.]”6

22
     4
       William Foxley, ‘They Have the Users’: Binance CEO Explains Why He Bought
23
     CoinMarketCap, COINDESK (Apr. 2, 2020), https://www.coindesk.com/binances-
24   coinmarketcap-acquisition-is-a-bet-that-crypto-really-is-for-the-masses (last visited Aug.
     31, 2021).
25   5
       About CoinMarketCap,COINMARKETCAP, https://coinmarketcap.com/about/ (last
26   visited Aug. 31, 2021).
     6
       William Foxley, ‘They Have the Users’: Binance CEO Explains Why He Bought
27   CoinMarketCap, COINDESK (Apr. 2, 2020), https://www.coindesk.com/binances-
     coinmarketcap-acquisition-is-a-bet-that-crypto-really-is-for-the-masses (last visited Aug.
28
     31, 2021).

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 1       22.   In a 2019, interview with Forbes Magazine, Adel de Meyer, the CEO of DAPS

 2             Coin, noted that “[a] ranking authority with the size and reputation of

 3             CoinMarketCap has the capacity to essentially ‘hide’ a [Cryptocurrency] at

 4             will.”7

 5       23.   Adel de Meyer also noted that CoinMarketCap.com’s dominance provided the

 6             “option for collusion, corruption, and coercion[.]” She further noted that

 7             CoinMarketCap.com seemed to reduce some market caps arbitrarily, leaving

 8             “investors and traders confused” and “damaging the reputation” of

 9             cryptocurrencies so impacted. She concluded that CoinMarketCap.com’s flawed

10             rankings, were “dangerous” and posed a risk to retail investors.8

11       24.   In addition to “hiding” a cryptocurrency, CoinMarketCap.com has the ability to

12             artificially inflate the value of a Cryptocurrency. For example, Mr. Carter notes

13             that by listing an artificially high market cap for advertiser and cryptocurrency

14             BitConnect, “CoinMarketCap directly enabled” it to “siphon[] around $100m

15             from investors[.]”.9 The SEC also made note of CoinMarketCap’s popularity

16             and its advertising relationship with BitConnect in its suit against BitConnect’s

17             promoters.10

18       25.   According to CoinMarketCap.com:

19             Binance is the global blockchain company behind the world's largest digital

20             asset exchange by trading volume and users, serving a greater mission to

21

22   7
       Luke Fitzpatrick, CoinMarketCap Algorithm Changed: Is the Ranking Flawed?,
     FORBES (Aug. 20, 2019),
23
     https://www.forbes.com/sites/lukefitzpatrick/2019/08/20/coinmarketcap-algorithm-
24   changed-is-the-ranking-flawed/?sh=409f4f064897 (last visited Sept. 13, 2021).
     8
       Id.
25   9
       Nic Carter, The Dark Underbelly of Cryptocurrency Markets, NIC CARTER
26   (September 3, 2018) https://medium.com/s/the-crypto-collection/a-glimpse-into-the-dark-
     underbelly-of-cryptocurrency-markets-d1690b761eaf (last visited Sept. 13, 2021).
     10
27      See e.g., Compl., ¶ 44, Securities and Exchange Commission v. Trevon Brown, et al.,
     No. 21 Civ. 4791 (S.D.N.Y.) (copy available at
28
     https://www.sec.gov/litigation/complaints/2021/comp-pr2021-90.pdf).

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 1              accelerate cryptocurrency adoption with 25+ products, projects and initiatives.

 2              Binance.com is known for offering a wide range of cryptoasset trading options

 3              and fiat on-ramps for multiple currencies globally, as part of its mission to

 4              increase the freedom of money.11

 5        26.   Defendant Binance launched in July 2017. By January 2018, it had become, and

 6              remains, the largest cryptocurrency exchange in the world, with a market

 7              capitalization of $1.3 billion and the highest trading volume of any such

 8              exchange. Binance facilitates trades in cryptocurrency by providing a

 9              marketplace and facilities for bringing together buyers and sellers of

10              cryptocurrency in exchange for Binance taking a fee for every transaction it

11              facilitates.

12        27.   Binance’s CEO, defendant Changpeng Zhao, founded Binance in China but

13              shortly thereafter moved Binance’s headquarters to Japan, in advance of the

14              Chinese government’s ban on cryptocurrency trading.

15        28.   In March 2018, as a result of increasing regulatory scrutiny in Japan, Binance

16              moved its nominal headquarters to Malta. However, Zhao has stated that:

17              Binance.com has always operated in a decentralized manner as we reach out to

18              our users across more than 180 nations worldwide. As well as pushing the

19              envelope in experimenting on how to become a true DAO (decentralized

20              autonomous organization).12

21        29.   Malta for its part has announced that Binance is not under its jurisdiction. “Since

22              then Binance has not said just where, exactly, it is now headquartered.”13

23   11
        About CoinMarketCap, COINMARKETCAP, https://coinmarketcap.com/about/ (last
24   visited Aug. 31, 2021).
     12
        Binance CEO Dismisses Malta Controversy: “This is Old News”, SUPERCRYPTONEWS
25   (Feb. 24, 2020), https://www.supercryptonews.com/binance-malta-controversy/ (last
26   visited Aug. 31, 2021).
     13
        Paddy Baker, Binance Doesn’t Have a Headquarters Because Bitcoin Doesn’t, Says
27   CEO, COINDESK (May 8, 2020) (updated Aug. 24, 2021),
     https://www.coindesk.com/binance-doesnt-have-a-headquarters-because-bitcoin-doesnt-
28
     says-ceo (last visited Aug. 31, 2021).

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 1        30.   Coindesk has reported on Zhao’s 2020 response to one questioner who asked

 2              where Binance was headquartered:

 3              Then it hit. Shin asked the one question Zhao really didn’t want to have to

 4              answer, but many want to know: Where is Binance’s headquarters? . . .

 5

 6              Little wonder that when asked Zhao reddened; he stammered. He looked off-

 7              camera, possibly to an aide. ‘Well, I think what this is is the beauty of the

 8              blockchain, right, so you don’t have to … like where’s the Bitcoin office, because

 9              Bitcoin doesn’t have an office,’ he said.

10

11              The line trailed off, then inspiration hit. ‘What kind of horse is a car?’ Zhao

12              asked. Binance has loads of offices, he continued, with staff in 50 countries. It

13              was a new type of organization that doesn’t need registered bank accounts and

14              postal addresses.14

15        31.   Nic Carter, a partner at venture capital firm Castle Island Ventures, and co-

16              founder of CoinMetrics.io has called Binance the “archetype” of the lightly

17              regulated cryptocurrency “casino” that “hop[s] around from jurisdiction to

18              jurisdiction to avoid the watchful eyes of regulators” and claiming that it has “a

19              devil-may-care attitude toward compliance, KYC/AML, wash trading, and

20              reporting.”15

21        32.   Upon information and belief Zhao himself resides in Taiwan.

22        33.   Yi He is the Chief Marketing Officer (“CMO”) of Binance and co-

23              founded Binance along with Zhao and Wang. In her role as CMO, she oversees

24
     14
        Paddy Baker, Binance Doesn’t Have a Headquarters Because Bitcoin Doesn’t, Says
25   CEO, COINDESK (May 8, 2020) (updated Aug. 24, 2021),
26   https://www.coindesk.com/binance-doesnt-have-a-headquarters-because-bitcoin-doesnt-
     says-ceo (last visited Aug. 31, 2021).
     15
27      Nic Carter, The Dark Underbelly of Cryptocurrency Markets, NIC CARTER (Sept. 3,
     2018) https://medium.com/s/the-crypto-collection/a-glimpse-into-the-dark-underbelly-of-
28
     cryptocurrency-markets-d1690b761eaf (last visited September 13, 2021).

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 1               “all marketing efforts” and has touted that she increased “Binance’s global

 2               influence to become a top cryptocurrency exchange.”16 On information and

 3               belief, she resides in Malta.

 4         34.   Ted Lin has been the Chief Growth Officer of Binance since September 2018.

 5               According to his LinkedIn profile, his responsibilities include, among other

 6               things, “aligning strategic partners worldwide.”17 Upon information and belief

 7               he has not resided in Arizona at any times relevant hereto.

 8         35.   Although it is thus unclear where Binance is physically headquartered, since its

 9               founding Binance has regularly and intentionally engaged in numerous online

10               cryptocurrency transactions inside the United States, with United States

11               residents. In addition, Binance has promoted, inside the United States, the sale

12               of digital assets on its exchange.

13         36.   In 2019, Binance was banned in the United States on regulatory grounds and

14               stopped accepting US users that year.

15         37.   In response, Binance launched Binanace.US in partnership with US company

16               BAM Trading Services Inc. (“BAM” or “Binance.US”).18 According to

17               Changpeng Zhao, the purpose of Binance.US was to “bring the security, speed,

18               and liquidity of Binance.com to North America” and ensure that Binance served

19               the US market was in “full regulatory compliance.”.19

20         38.   Catherine Coley was the CEO of Binance.US from its inception until early May,

21               2021. Upon information and belief she does not reside in Arizona.20

22
     16
        Binance, BLOCKDATA, https://www.blockdata.tech/profiles/binance (last visited Aug.
23
     31, 2021).
     17
24      Ted Lin, LINKEDIN, https://www.linkedin.com/in/ted-lin-545a4491/ (last visited Aug.
     31, 2021).
25   18
        Nikhilesh De, Binance Says It’s Launching a US Exchange With FinCEN Registered
26   Partner, COINDESK (June 13, 2019) (updated Aug. 24, 2021),
     https://www.coindesk.com/binance-says-its-launching-a-us-exchange-with-fincen-
27   registered-partner (last visited Aug. 31, 2021).
     19
        Id.
28   20
        Zack Seward & Nate DiCamillo, Binance.US Hires Former Bank Regulator Brian

                                                  - 10 -
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 1      39.   Subsequently, she was replaced by Brian Brooks, a former banking regulator.

 2            However, Mr. Brooks resigned shortly after taking the position.21 If discovery

 3            reveals that Mr. Brooks is liable, in whole or in part, for the acts or omissions

 4            complained of herein, Plaintiff and the Class will seek leave to add him as a

 5            Defendant.

 6      40.   It is unclear who Biance.US’s current CEO is. Discovery will be sought on this

 7            point as appropriate. If discovery reveals that Biance.US’s current CEO is liable,

 8            in whole or in part, for the acts or omissions complained of herein, Plaintiff and

 9            the Class will seek leave to add him or her as a Defendant.

10      41.   Binance.US is supposedly operated by BAM but uses Binance’s wallet,

11            matching engine, and other technologies.22

12      42.   Upon information and belief Binance and or Zhao own a significant portion of

13            Binance.US.

14      43.   Binance.US offers a very similar interface and feature set to its worldwide

15            counterpart.

16      44.   Binance.US has been banned in seven US states.

17      45.   Arizona is not one of the states in which Binance.US has been banned.

18      46.   Binance and/or Binance.US thus continues to operate in Arizona.

19      47.   Binance.US sought and obtained licensure as a money transmitter from the

20            Arizona Department of Financial Institutions.23

21
     Brooks as CEO, Former Head Coley to Depart, COINDESK (April 20, 2021) (updated
22   Aug. 24, 2021), https://www.coindesk.com/binance-us-hires-former-bank-regulator-
     brian-brooks-as-ceo (last visited Aug. 31, 2021).
23   21
        Nate DiCamillo, Binance.US CEO Brian Brooks Quits, Cites ‘Strategic Differences’,
24   COINDESK (Aug. 6, 2021) (updated Aug. 24, 2021), https://www.coindesk.com/binance-
     us-ceo-brian-brooks-quits-cites-strategic-differences (last visited Aug. 31, 2021).
25   22
        Nikhilesh De, Binance Says It’s Launching a US Exchange With FinCEN Registered
26   Partner, COINDESK (June 13, 2019) (updated Aug. 24, 2021),
     https://www.coindesk.com/binance-says-its-launching-a-us-exchange-with-fincen-
27   registered-partner (last visited Aug. 31, 2021).
     23
        Licenses, BINANCE, https://support.binance.us/hc/en-us/articles/360050532193-
28
     Licenses (last visited Aug. 31 2021).

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 1         48.   In May 2021, Bloomberg News reported that Binance was under investigation

 2               by the United States Department of Justice and Internal Revenue Service for

 3               money-laundering and tax evasion.24

 4         49.   Collectively CoinMarketCap.com, Binance, and Binance.US are referred to as

 5               the (“Corporate Defendants”).

 6         50.   Changpeng Zhao, Catherine Coley, Yi He, Ted Lin, and other individuals who

 7               are or were control persons of the Corporate Defendants and whose identities

 8               are as yet unknown are referred to as the (“Individual Defendants”).

 9         51.   The Individual Defendants are all persons who possess significant knowledge

10               about cryptocurrencies and are well equipped to know HEX’s true market cap.

11         52.   Next to each cryptocurrency listed on CoinMarketCap.com’s is a “buy” button.

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       Tom Schoenberg, Binance Faces Probe by U.S. Money-Laundering and Tax Sleuths,
27   BLOOMBERG (May 13, 2021), https://www.bloomberg.com/news/articles/2021-05-
     13/binance-probed-by-u-s-as-money-laundering-tax-sleuths-bore-in (last visited Aug. 31,
28
     2021).

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20    53.   Users who click on the “buy” button are directed to either Blockchain.com or
21          Binance’s websites.
22    54.   However, despite appearances to the contrary, HEX cannot be purchased via
23          either Blockchain.com or Binance.
24    55.   The link on CoinMarketCap.com that takes users to Binance.com does not
25          inform users that they are being directed to a Binance subsidiary but instead
26          invites users to purchase cryptocurrency through “Binance[.]” Similarly, the
27          landing page at which users arrive after clicking the link states that the site
28          belongs to “Binance” in the upper left-hand corner and directs users to Binance’s

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 1               website.

 2         56.   In contrast, the words Binance.US are prominently displayed in the upper left-

 3               hand corner of Binance.US’s website.25

 4         57.   The “terms” section of the website to which CoinMarketCap.com users are

 5               directed makes clear that “Binance refers to an ecosystem comprising Binance

 6               websites   (whose    domain     names     include   but   are   not   limited   to

 7               www.binance.com), mobile applications, clients, applets and other applications

 8               that are developed to offer Binance Services, and includes independently-

 9               operated platforms, websites and clients within the ecosystem (e.g. Binance’s

10               Open Platform, Binance Launchpad, Binance Labs, Binance Charity, Binance

11               DEX, Binance X, JEX, Trust Wallet, and fiat gateways).”26

12         58.   The “about Binance” paragraph of the “terms” portion of the website states that

13               “Binance mainly serves as a global online platform for Digital Assets trading[.]”

14         59.   The “terms” section further notes that “Binance Operators” are bound by the

15               terms expressed therein. II(1)(a).

16         60.   Binance Operators are defined as referring “to all parties that run Binance,

17               including but not limited to legal persons, unincorporated organizations and

18               teams that provide Binance Services and are responsible for such services.”

19         61.   Binance Services are defined as referring “to various services provided to you

20               by Binance that are based on Internet and/or blockchain technologies and offered

21               via Binance websites, mobile applications, clients and other forms (including

22               new ones enabled by future technological development). Binance Services

23               include but are not limited to such Binance ecosystem components as Digital

24               Asset Trading Platforms, the financing sector, Binance Labs, Binance Academy,

25               Binance Charity, Binance Info, Binance Launchpad, Binance Research, Binance

26   25
        See e.g., BINANCE.US, https://www.binance.us/en/buy-sell-crypto (last visited Aug. 31,
27   2021).
     26
        Binance Terms of Use, BINANCE (Aug. 20, 2021), https://www.binance.com/en/terms
28
     (last visited Aug. 31, 2021).

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 1               Chain, Binance X, Binance Fiat Gateway, existing services offered by Trust

 2               Wallet and novel services to be provided by Binance.”

 3         62.   For example, on Binance’s “about” page,27 titled “About Binance[,]” users are

 4               treated to an infographic of Binance’s ecosystem. The only exchange listed as

 5               part of that ecosystem is “Binance Exchange . . . the largest crypto exchange by

 6               trade volume and one of the fastest in the world.” No mention is made of

 7               Binance.US being a separate part of the ecosystem.

 8         63.   The about page also informs users about a cryptocurrency developed by Binance

 9               as well as Binance’s vision to “increase the freedom of money globally.” It

10               further states that “by spreading this freedom, we can significantly improve lives

11               around the world[.]”

12         64.   Conversely, the website that CoinMarketCap.com users are directed to lists

13               Binance as part of the Ecosystem.

14         65.   The website also lists “Binance Info” (i.e. CoinMarketCap.com) as part of its

15               ecosystem and claims that it serves as an “open and objective information

16               platform.” This despite the fact that prior to acquiring CoinMarketCap.com,

17               Zhao had criticized the quality of its data28 and that a 2019 report to the SEC had

18               found that CoinMarketCap’s data was based in large part on artificial trade

19               volume.29

20         66.   Clinking on the link for “Binance Info” takes users to CoinMarketCap.com’s

21               website.30

22

23   27
        About Binance, BINANCE, https://www.binance.com/en/about (last visited Aug. 31,
24   2021).
     28
        William Foxley, ‘They Have the Users’: Binance CEO Explains Why He Bought
25   CoinMarketCap, COINDESK (April 2, 2020), https://www.coindesk.com/binances-
26   coinmarketcap-acquisition-is-a-bet-that-crypto-really-is-for-the-masses (last visited Aug.
     31, 2021).
     29
27      Id.
     30
        About Binance, BINANCE, https://www.binance.com/en/about (last visited Aug. 31,
28
     2021).

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12    67.   Thus, it is simply not clear where Binance ends and Binance.US begins or even
13          whether there is any meaningful distinction between the two at all.
14    68.   Although Binance bills CoinMarketCap.com as an open source platform to
15          which any user can contribute, users cannot change HEX”s ranking. Rather, the
16          power to change that ranking is under the control of Defendants.
17    69.   Upon information and belief, the Binance and Binance.US exchanges make
18          money by charging a transaction fee to those who execute transactions of the
19          cryptocurrencies traded on those exchanges.
20    70.   HEX is not traded on Binance or Binance.US.
21    71.   Does I-X are other natural or corporate persons which may be liable for the acts
22          or omissions complained of herein, including by their virtue of their status as
23          control persons. Plaintiff will seek leave to add their true names after discovery
24          reveals their identities.
25    72.   This Court has jurisdiction pursuant to Article III of the US Constitution, 7 U.S.
26          Code § 25, Section 22 of the Securities Act, 28 U.S.C. § 1331-1332, 15 U.S.C.
27          § 77v, Section 27 of the Exchange Act, 15 U.S.C. § 78aa(a), the Clayton Act, 28
28          U.S. Code § 1337, CAFA, common law doctrine, and other applicable law.

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 1         73.      This Court additionally has jurisdiction over the claims arising, in whole or in

 2                  part, under Arizona law pursuant to the authorities set forth above as well as

 3                  pursuant to this Court’s supplemental jurisdiction under 28 U.S.C. § 1367(a).

 4                  This Court also has jurisdiction over the claims arising under Arizona law

 5                  pursuant to other applicable law.

 6         74.      Venue is proper pursuant to, 15 U.S.C. § 77v(a), 15 U.S.C. § 78aa, common law

 7                  doctrine, and other applicable law.

 8           COINMARKETCAP.COM’S REPRESENTATIONS TO THE PUBLIC

 9         75.      Plaintiff incorporates by reference all preceding and subsequent allegations.

10         76.      CoinMarketCap.com’s website makes the following representations:

11

12               CoinMarketCap strictly follows and enforces its independent listing criteria

13               guidelines, circulating supply calculation methods and liquidity score for how it

14               ranks cryptoassets.31

15

16               Cryptoassets that wish to be listed on CoinMarketCap should follow the guidelines

17               in our listing policy and will be fairly and independently evaluated on their merits.

18

19               CoinMarketCap's official ranking criteria is designed to eliminate any possibility

20               of preferential treatment . . .32

21

22               CoinMarketCap will continue to present the most accurate data on

23               cryptocurrencies to the wider public independently.33

24
                 Our mission at CoinMarketCap has always been to provide all our users with the
25

26   31
        About CoinMarketCap, COINMARKETCAP, https://coinmarketcap.com/about/ (last
27   visited Aug. 31, 2021).
     32
        Id.
28   33
        Id.

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 1               most accurate and relevant information to select exchanges and tokens to invest

 2               and trade in.35

 3         77.      Despite     CoinMarketCap.com’s      promises    of   objectivity   and   fairness,

 4                  CoinMarketCap.com has a history of manipulating its rankings to benefit

 5                  Binance.

 6         78.      For example, CoinMarketCap.com, in addition to ranking cryptocurrencies,

 7                  ranks cryptocurrency exchanges. A May 15, 2020 article in CoinTelegraph

 8                  reported:

 9               Crypto markets data aggregator CoinMarketCap yesterday changed its

10               methodology to rank exchanges on their web traffic by default — a metric that puts

11               CoinMarketCap’s new owners Binance in the top spot.

12

13               But this stands in stark contrast to the words of CoinMarketCap’s Chief Strategy

14               Officer and acting CEO Carylyne Chan, who said in a podcast interview late last

15               year that web traffic was “not a good indicator.”

16

17               Introduced just six weeks after Binance bought CoinMarketCap for hundreds of

18               millions of dollars, the new ranking methodology prioritizes web traffic over CMC’s

19               painstakingly developed “liquidity metric,” which was only introduced in

20               November and was due to become the default ranking.

21

22               When ranked by average liquidity, Binance lands in fourth place, following Bitfinex,

23               Coinbase Pro, and Huobi Global respectively.36

24

25   35
        Web Traffic Factor (Exchange), COINMARKETCAP,
26   https://support.coinmarketcap.com/hc/en-us/articles/360043837171-Web-Traffic-Factor-
     Exchange- (last visited Aug. 31, 2021).
     36
27      Jake Frankenfield, Binance Coin (BNB), INVESTOPEDIA (Aug. 17, 2021),
     https://cointelegraph.com/news/coinmarketcap-initially-rejected-the-metric-that-now-
28
     puts-binance-at-no1 (last visited Sept. 13, 2021).

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 1         79.      A May 29, 2020 article in CoinTelegraph further reported:

 2               New CMC metrics accused of favoring Binance

 3

 4               On May 14, CoinMarketCap launched its new “web traffic factor.” The criterion

 5               seeks to analyze the user activity on exchanges, including the number of page views,

 6               unique visitors, the time spent on site, search engine bounce rate, and search engine

 7               rankings.

 8

 9               CMC’s new parent company, top-ranking crypto exchange Binance, received

10               criticism for the web traffic metric’s introduction because Binance claimed the top

11               spot as a result. A similar metric was previously considered and rejected by

12               CoinMarketCap prior to its recent change in ownership.37

13         80.      CoinMarketCap.com’s “glossary” defines “Rank” as “The relative position of a

14                  cryptocurrency by market capitalization.”38 It acknowledges that this is the

15                  industry norm and that “most individuals track cryptocurrency ranks according

16                  to market cap[.]”39

17         81.      According to CoinMarketCap.com: “Market capitalization, or market cap, is

18                  calculated by multiplying the price of a cryptocurrency with its circulating

19                  supply at any given time.”40

20         82.      As of September 13, 2021 between noon and 1PM, CoinMarketCap.com stated

21                  that HEX’s price was $.3492.

22         83.      Similarly, as of that date and time, CoinMarketCap.com stated: “The

23                  CoinMarketCap team has verified [HEX’s] circulating supply to be”

24
     37
        Samuel Haig, CoinMarketCap Unveils Further Changes to Ranking System,
25   COINTELEGRAPH (May 29, 2020) https://cointelegraph.com/news/coinmarketcap-unveils-
26   further-changes-to-ranking-system (last visited Sept. 13, 2021).
     38
        What is Rank?, COINMARKETCAP, https://coinmarketcap.com/alexandria/glossary/rank
27   (last visited Sept. 13, 2021).
     39
        Id.
28   40
        Id.

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 1          173,411,074,413 HEX.

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      84.   Indeed, CoinMarketCap.com represented as of that date and time that “The
11
            CMC team has verified the [HEX] Market Cap to be $62,295,479,825.” This
12
            sum is the product of multiplying the price reported by CoinMarketCap.com
13
            with the circulating supply verified by CoinMarketCap.com (with minor
14
            variation accounted for because the figures were accessed at slightly different
15
            times).
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 1    85.   CoinMarketCap.com’s homepage bills itself as displaying a list of “Today’s

 2          Cryptocurrency Prices by Market Cap[.]”.

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15    86.   HEX’s “verified” market cap should see it ranked, sixth, near the top of the first
16          page, as of September 13, 2021. This ranking would place it between Binance
17          Coin and XRP.
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      87.   Instead, HEX was ranked 201, on the third page of results.
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 1                                   GENERAL ALLEGATIONS

 2         88.   Plaintiff incorporates by reference all preceding and subsequent allegations.

 3         89.   CoinMarketCap.com provides an assessment of the market cap for various

 4               cryptocurrencies and ranks cryptocurrencies on the basis of their overall market

 5               cap in comparison to those of other cryptocurrencies.

 6         90.   Though     HEX      was   the   best      performing   cryptocurrency   of   2020,

 7               CoinMarketCap.com locked HEX’s ranking at #20141 sometime that year and

 8               has refused to adjust it on the basis of HEX’s performance as related to other

 9               cryptocurrencies ever since (the “Suppression Period”).

10         91.   CoinMarketCap.com provides its historical rankings on its website.

11         92.   These historical rankings reveal that HEX was ranked 20th as recently as

12               September 20, 2020, in line with CoinMarketCap.com’s estimation of HEX’s

13               market cap.42

14         93.   However, by September 27, 2020, the Suppression Period had begun.43

15         94.   HEX’s ranking remains locked.44

16         95.   As CoinMarketCap.com’s website provides only four “snapshots” a month of

17               the historical rankings, Plaintiff is currently unaware of exactly when exactly the

18               Suppression Period began but expects that discovery will reveal a precise answer

19               to that question.

20         96.   CoinMarketCap.com’s locking of HEX’s ranking has caused HEX to trade at

21               lower prices than it would have had the ranking not been locked.

22         97.   The higher a cryptocurrency is ranked, the higher up it appears on the homepage

23               of CoinMarketCap.com’s website for interested users to purchase.

24
     41
        With occasional and slight downward fluctuations.
25   42
        Historical Snapshot – 20 September 2020, COINMARKETCAP,
26   https://coinmarketcap.com/historical/20200920/ (last visited Aug. 31, 2021).
     43
        Historical Snapshot – 27 September 2020, COINMARKETCAP,
27   https://coinmarketcap.com/historical/20200927/ (last visited Aug. 31, 2021).
     44
        Today’s Cryptocurrency Prices by Market Cap, COINMARKETCAP,
28
     https://coinmarketcap.com/?page=3 (last visited Aug. 31, 2021).

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 1    98.    Users must scroll through additional pages to view lower-ranked

 2           cryptocurrencies.

 3    99.    One of the cryptocurrencies listed on CoinMarketCap.com’s website is Binance

 4           Coin.

 5    100.   Upon information and belief, Binance Coin was issued by Binance.

 6    101.   As of July 21, 2021, CoinMarketCap ranked Binance Coin as the 4th largest

 7           cryptocurrency.

 8    102.   Another of the crytpocurrencies listed on CoinMarketCap.com’s website is

 9           Binance USD.

10    103.   Upon information and belief, Binance USD was issued by Binance.

11    104.   Upon information and belief, Binance and its principals, including Zhao, have a

12           financial interest in ensuring the strongest possible demand for BinanceCoin and

13           BinanceUSD.

14    105.   As of July 21, 2021, CoinMarketCap ranked Binance USD as the tenth largest

15           cryptocurrency.

16    106.   According to Nomics HEX’s true market cap was $85.3 billion as of July 21,

17           2021.

18    107.   At this market cap, HEX should have been ranked third in size as of July 21,

19           2021.

20    108.   As of July 21, 2021, CoinMarketCap.com listed HEX’s market cap as just over

21           $25.6 billion.

22    109.   Even at that market cap, HEX should be ranked sixth in size as of July 21, 2021.

23    110.   As of July 21, 2021 CoinMarketCap.com instead ranked HEX 201 in size.

24    111.   Accordingly, as of July 21, 2021, HEX appeared only on the third page of

25           CoinMarketCap.com’s results.

26    112.   Upon information and belief, some other websites that allow users to buy

27           cryptocurrencies also present them in the order they are found in

28           CoinMarketCap.com’s market cap rankings.


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 1    113.   At the same time, smaller ranking websites including Nomics.com,

 2           CoinRanking.com,      YahooCrypto,        TradingviewCrypto,   Coinpaprika.com,

 3           Etherscan.io, and CryptoCurrencyCap.com all had HEX ranked between fourth

 4           and tenth in size as of June 18, 2021.

 5    114.   CoinMarketCap.com’s failure to properly rank HEX has artificially suppressed

 6           HEX’s value to the detriment of Plaintiff and those similarly situated.

 7    115.   For example, but for CoinMarketCap.com’s failure to properly rank HEX, at

 8           least some individuals who purchased higher ranked cryptocurrencies would

 9           have purchased HEX instead, suppressing the price of HEX and inflating the

10           price of one or more other cryptocurrencies, including those issued by Binance.

11    116.   Similarly, CoinMarketCap.com’s failure to properly rank HEX has had the

12           effect of directing buyers away from HEX and towards cryptocurrencies that can

13           be purchased through Blockchain.com or Binance.

14    117.   Upon information and belief this provides a financial advantage to

15           CoinMarketCap.com, Binance, Binance.US, Blockchain.com, and individuals

16           associated with those companies.

17    118.   CoinMarketCap.com’s failure to properly rank HEX has also artificially inflated

18           the value of some or all of the cryptocurrencies ranked above HEX including

19           those issued by Binance.

20    119.   HEX is heavily traded. For the 24 hours ending July 21, 2021 at 7:35PM,

21           CounMarketCap.com reports that HEX trading volume was $79,338,170.

22           Trading volume during each of the prior seven days was higher. Between May

23           22, 2021 and July 21, 2021, the lowest daily trading volume was $22,972,397.

24    120.   HEX and other cryptocurrencies receive widespread coverage in the financial

25           press and by cryptocurrency analysts.

26    121.   According to coincodex.com, as of July 22, 2021, there were thirteen exchanges

27           on which HEX could be traded.

28    122.   There is a cause and effect relationship between unexpected material disclosures


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 1           and the price of HEX.

 2    123.   For example, the inventor of HEX created another cryptocurrency called

 3           Pulsechain. It was recently made public that holders of HEX would have the

 4           opportunity to acquire this new cryptocurrency at an earlier phase than others,

 5           causing or contributing to an increase of the price of HEX.

 6    124.   Such a cause and effect relationship exists for many other cryptocurrencies listed

 7           or offered for sale by Defendants as well.

 8    125.   The market for HEX and some or all of the cryptocurrencies ranked above HEX

 9           by CoinMarketCap is efficient.

10      ILL-WILL OF DEFENDANTS TOWARDS HEX AND ITS CREATORS

11    126.   Plaintiff incorporates by reference all preceding and subsequent allegations.

12    127.   Bitcoin is the world’s largest cryptocurrency by market cap.

13    128.   Upon information and belief, Bitcoin is also the most commonly traded

14           cryptocurrency on Binance and Binance.US’s exchanges and a key profit driver

15           for both exchanges.

16    129.   Changpeng Zhao stated in a February 2021 interview that he keeps nearly

17           100% of his 1.9 billion USD net worth in cryptocurrencies. Upon information

18           and belief he has also stated that Bitcoin is one of his favorite cryptocurrencies

19           to hold.

20    130.   Upon information and belief, all Individual Defendants have large holdings of

21           Bitcoin, Binance Coin, Binance USD, and other cryptocurrencies.

22    131.   HEX was intended, at least in part, to serve as an alternative to Bitcoin’s

23           model. If this alternative succeeds, the price of Bitcoin and other, similar,

24           cryptocurrencies, will be lower than it would be otherwise be, creating a

25           financial detriment to the Individual Defendants.

26    132.   Upon information and belief, all Individual Defendants have substantial

27           cryptocurrency holdings.

28    133.   Upon information and belief, no Defendant owns any units of HEX.


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 1         134.   For example, for holders of Bitcoin to earn interest, they must give their

 2                “private key” to a third party, increasing the risk of theft. HEX is designed to

 3                allow users to earn interest without this risk.

 4         135.   None of the Corporate Defendants can make money off of HEX the way they

 5                do off other Cryptocurrencies because HEX is not traded on the Binance or

 6                Binance.US exchanges.

 7         136.   Further, HEX is designed to generate interest when “staked”, which

 8                discourages active trading. If the HEX model succeeds, it will further

 9                undermine the businesses of exchanges like Binance and Binance.US and coin

10                rankings sites like CoinMarketCap.com insofar as exchanges make money

11                only when an investor trades and coin ranking sites make money by sending

12                such investors to exchanges to trade.

13         137.   Recognizing the threat that HEX posed, just prior to the beginning of the

14                Suppression Period, Binance launched Binance Smart Chain. According to

15                Binance’s press release announcing the launch, Binance Smart Chain

16                “introduce[d] an all-new staking mechanism for BNB [AKA Binance Coin], one

17                of the world’s top cryptocurrencies.” 45 Thus Binance Coin became a direct

18                competitor to HEX.

19         138.   Conveniently, Binance Coin “was created as a utility token for discounted

20                trading fees” on Binance’s exchanges and such fees can also be paid in Binance

21                Coin.46

22         139.   Binance Smart Chain also allows other cryptocurrencies built on the Binance

23                Smart Chain to be “staked.”.

24

25   45
         Binance Smart Chain Launches Today, BINANCE (Aug. 31, 2020),
26   https://www.binance.com/en/blog/421499824684900933/binance-smart-chain-launches-
     today (last visited Sept. 13, 2021).
27   46
        Jake Frankenfield, Binance Coin (BNB), INVESTOPEDIA (Aug. 17, 2021),
     https://cointelegraph.com/news/coinmarketcap-initially-rejected-the-metric-that-now-
28
     puts-binance-at-no1 (last visited Sept. 13, 2021).

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 1         140.   HEX is not built on the Binance smart chain.

 2         141.   Defendants financially benefit from the adoption of both of Binance Coin and

 3                the Binance Smart Chain by investors.

 4         142.   Defendants’ actions have limited the adoption of HEX and thus made it more

 5                difficult for HEX’s model to succeed.

 6         143.   HEX’s creator, Richard Heart, is a vocal critic of Binance and

 7                CoinMarketCap.com.

 8         144.   Persons with a close connection to CoinMarketCap.com have also expressed a

 9                personal dislike of HEX’s creator.

10                                CLASS ACTION ALLEGATIONS

11         145.   Plaintiff incorporates by reference all preceding and subsequent allegations.

12         146.   Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

13                Rules of Civil Procedure on behalf of all persons who sold HEX during the

14                Suppression Period which they had acquired prior to the Suppression

15                Period (the “Class”).

16         147.   Excluded from the Class are Defendants and their families, their officers and

17                directors at all relevant times, members of their immediate families,

18                Defendants’ heirs, successors or assigns and any entity in which defendants

19                have or had a controlling interest. Also excluded from the class is counsel for

20                any party.

21         148.   The members of the Class are so numerous that joinder of all members is

22                impracticable. The disposition of their claims in a class action will provide

23                substantial benefits to the parties and the Court. As of July 21st, 2021, there

24                were approximately 173.4 billion units of HEX outstanding.

25         149.   As of July 23rd, 2021 HEX was held in over 300,000 unique wallets.47

26   47
       Hex.vision, ELASTIC, https://hex.vision/app/dashboards#/view/feeb2b40-242b-11ea-
27   b36a-afff3b35cff3?_g=(filters:!(),refreshInterval:(pause:!t,value:0),time:(from:now-
     30d,to:now))&_a=(description:'Home%20page%20displaying%20statistics%20from%20
28
     many%20different%20aspects%20of%20HEX',filters:!(),fullScreenMode:!f,options:(hid

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 1      150.   Upon information and belief HEX has hundreds of thousands of individual

 2             holders.

 3      151.   The class has far more than 100 or more members, there is at least minimal

 4             diversity between the parties, and the amount in controversy far exceeds

 5             $5,000,000.

 6      152.   There is a well-defined community of interest in the questions of law and fact

 7             involved in this case. Questions of law and fact common to the members of the

 8             Class which predominate over questions which may affect individual Class

 9             members include:

10             a. Whether Defendants violated the Commodity Exchange Act, the Arizona

11                 Consumer Fraud Act, the 1934 Act, Arizona securities law, and federal and

12                 state antitrust law, and;

13             b. Whether Defendants omitted and/or misrepresented material facts;

14             c. Whether Defendants’ statements were at the time and in the light of the

15                 circumstances under which made, false or misleading;

16             d. Whether Defendants knew or deliberately disregarded that their statements

17                 were false and misleading;

18             e. Whether the price of HEX has been artificially suppressed; and

19             f. The extent of damage sustained by Class members and the appropriate

20                 measure of damages.

21      153.   Plaintiff’s claims are typical of those of the Class because Plaintiff and the

22             Class sustained damages from Defendants’ wrongful conduct.

23      154.   Plaintiff will adequately protect the interests of the Class and has retained as

24             counsel a firm with attorneys who are experienced in class action, commercial,

25             commodities and securities litigation. Plaintiff has no interests which conflict

26             with those of the Class.

27
     ePanelTitles:!f,useMargins:!t),query:(language:kuery,query:''),tags:!(),timeRestore:!t,title
28
     :Overview,viewMode:view) (last visited Aug. 31, 2021).

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 1     155.   A class action is superior to other available methods for the fair and efficient

 2            adjudication of this controversy.

 3     156.   Plaintiff and the class set forth their causes of action below. Discovery may

 4        reveal that one or more Defendants have engaged in other violations of law

 5        giving rise to private rights of action. Plaintiffs will seek leave to amend this

 6        complaint at the appropriate time if such violations are revealed.

 7                               FIRST CAUSE OF ACTION

 8   (PRIVATE CAUSE OF ACTION UNDER THE COMMODITY EXCHANGE ACT

 9     FOR MANIPULATION OF COMMODITY PRICES AND PROVISION OF

10       FALSE, MISLEADIING, OR KNOWINGLY INACCURATE REPORTS

11              TENDING TO AFFECT THE PRICE OF COMMODITIES)

12                                   (ALL DEFENDANTS)

13     157.   Plaintiff incorporates by reference all preceding and subsequent allegations.

14     158.   7 U.S. Code § 25 (“Private Rights of Action”) provides a private right of action

15            against any person who violates USC Title 7, Ch. 1 as well as against any

16            person “who willfully aids, abets, counsels, induces, or procures the

17            commission of a violation[.]”.

18     159.   7 U.S. Code § 13(a)(2). provides that it is unlawful for:

19               Any person to manipulate or attempt to manipulate the price of any

20               commodity in interstate commerce . . . or knowingly to deliver or cause to

21               be delivered for transmission through the mails or interstate commerce by

22               telegraph, telephone, wireless, or other means of communication false or

23               misleading or knowingly inaccurate reports concerning crop or market

24               information or conditions that affect or tend to affect the price of any

25               commodity in interstate commerce[.]

26               7 U.S. Code § 13(a)(2).

27     160.   7 U.S. Code § 9(1, 3) provides that it is:

28               [U]nlawful for any person, directly or indirectly, to manipulate or attempt


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 1                   to manipulate the price of any swap, or of any commodity in interstate

 2                   commerce[.]

 3         161.   Other portions of Title 7, Ch. 1 contain similar provisions, as does other

 4                applicable law.

 5         162.   Cryptocurrencies are commodities. According to the US Commodity Futures

 6                Trading Commission: “[V]irtual currencies, such as Bitcoin, have been

 7                determined to be commodities under the Commodity Exchange Act (CEA).”48

 8         163.   Defendant CoinMarketCap.com has made untrue statements concerning

 9                HEX’s ranking. Its ranking of Hex, among other things:

10                a. Is not accurate in light of HEX’s true market cap or even

11                   CoinMarketCap.com own data on the size of HEX’s market cap.

12                b. Contradicts the rankings of other, smaller, ranking websites, which provide

13                   much more accurate rankings for HEX.

14                c. Results    from    a   misapplication,    or   selective   application,   of

15                   CoinMarketCap.com’s own rankings guidelines.

16         164.   Similarly, because Binance and/or its subsidiary Binance.US direct users to

17                CoinMarketCap.com’s website for “objective” information about the various

18                cryptocurrencies Binance and/or Binance.US offers for sale, both Binance and

19                Binance.US have participated in the making of statements that are false.

20         165.   These statements are false even on the face of CoinMarketCap.com’s own data

21                and in light of its own procedures. The statements also contradict those made

22                by other rankings websites, all of which all Defendants have access to.

23         166.   Further, upon information and belief, numerous holders of HEX have advised

24                CoinMarketCap.com that its ranking of Hex is inaccurate.

25         167.   CoinMarketCap.com has more users than any other product in the

26
     48
27     Bitcoin Basics, U.S. COMMODITY FUTURES TRADING COMM’N,
     https://www.cftc.gov/sites/default/files/2019-12/oceo_bitcoinbasics0218.pdf (last visited
28
     Sept. 13, 2021).

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 1           cryptocurrency industry.

 2    168.   CoinMarketCap.com is the dominant data source in the cryptocurrency asset

 3           pricing space.

 4    169.   CoinMarketCap.com is the dominant data source relied upon by retail

 5           cryptocurrency investors and is also extensively relied upon by exchanges.

 6    170.   There is a direct relationship between the value of a cryptocurrency and its

 7           market capitalization raking. All other things being equal, Cryptocurrencies to

 8           with CoinMarketCap.com assigns higher rankings are considered to be more

 9           solid investments and hence more valuable. They will also be seen by more

10           investors, increasing demand and therefore their prices.

11    171.   CoinMarketCap.com possesses the ability to essentially hide cryptocurrencies

12           from a large portion of retail investors by manipulating the ranking of a

13           cryptocurrency and thus suppress the market for such cryptocurrencies as well

14           as their price.

15    172.   When a cryptocurrency is ranked artificially low by CoinMarketCap.com such

16           investors and traders as are still aware of it are confused and the reputation of

17           the cryptocurrency is damaged.

18    173.   In addition, CoinMarketCap.com has the ability to artificially inflate the price

19           of cryptocurrencies through the market cap and other data it presents.

20    174.   CoinMarketCap.com’s dominance is bolstered by the fact that Binance, the

21           world’s largest cryptocurrency exchange, and its US subsidiary Biance.US,

22           encourage investors to rely on CoinMarketCap.com’s information when

23           making investment decisions.

24    175.   Even if CoinMarketCap.com was not so completely dominant, it would have

25           the ability to influence market prices.

26    176.   Defendants possessed, and continue to possess, an ability to influence market

27           prices.

28    177.   Because of CoinMarketCap.com’s ability to influence market prices through


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 1                the market cap rankings it assigns to various cryptocurrencies, and the fact that

 2                it has assigned an artificially low raking to Hex, Hex’s value has been lower

 3                than it otherwise would have been throughout the Suppression Period.

 4         178.   CoinMarketCap has misrepresented both HEX’s ranking and that of every

 5                other cryptocurrency ranked between #201 and HEX’s true ranking.

 6         179.   By misrepresenting HEX’s ranking CoinMarketCap.com has directly or

 7                indirectly participated in the artificial manipulation of the prices of one or

 8                more commodities.

 9         180.   Even if it were the case that CoinMarketCap.com’s users were solely

10                responsible for the rankings, which it is not, their failure to correct such a

11                clearly erroneous ranking would constitute indirect manipulation.

12         181.   By encouraging those contemplating buying or selling cryptocurrencies to rely

13                on CoinMarketCap.com’s rankings, Biance, Biance.US, and the individual

14                defendants, have directly or indirectly participated in the artificial

15                manipulation of the price of one or more commodities.

16         182.   In addition, Binance is responsible for helping CoinMarketCap provide the

17                public with “higher quality data[.]”.49

18         183.   Further, Binance, Binance.US, and the Individual Defendants, though highly

19                experienced in the field of cryptocurrency, authorized CoinMarketCap.com to

20                continue to proceed on their behalf as an affiliate and marketing channel in

21                dereliction of regulation requirements.

22         184.   Defendants specifically intended to cause the artificial price.

23         185.   Defendant Zhao is the ultimate authority over CoinMarketCap.com, Binance,

24                and   Binance.US.     He   was    aware    at   the   time   Binance   purchased

25                CoinMarketCap.com that there were issues with its rankings. Binance was also

26                aware of this.

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     49
       About CoinMarketCap, COINMARKETCAP, https://coinmarketcap.com/about/ (last
28
     visited Aug. 31, 2021).

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 1    186.   Ted Lin is responsible for overseeing Binance strategic partners like

 2           CoinMarketCap.com and Binance.US. Upon information and belief, Lin was

 3           aware at the time Binance purchased CoinMarketCap.com that there were

 4           issues with its rankings.

 5    187.   Yi He is responsible for overseeing Biance’s global marketing efforts, of

 6           which CoinMarketCap.com forms an important component. Upon information

 7           and belief, He was aware at the time Binance purchased CoinMarketCap.com

 8           that there were issues with its rankings.

 9    188.   While CEO, Catherine Coley was responsible for ensuring that Biance served

10           the US market in a compliant fashion. Upon information and belief, she was

11           aware at the time she became CEO of Binance.US that there were issues with

12           CoinMarketCap.com’s rankings. Upon information and belief Binance.US was

13           also aware of this.

14    189.   Defendants had the motive to perform the acts and omissions complained of in

15           order to limit the threat HEX posed to their business models, Binance Coin,

16           Binance Smart Chain, the value of their cryptocurrency holdings and, upon

17           information and belief, in the case of CoinMarketCap.com,        because      of

18           personal animus against Hex’s creator as well on the part of its principals as

19           well.

20    190.   Alternatively, there is strong circumstantial evidence of conscious misbehavior

21           or recklessness on the part of Defendants.

22    191.   Defendants either willfully participated in the manipulation or failed to review

23           or check information that they had a duty to monitor, or ignored obvious signs

24           of market manipulation.

25    192.   For these and the other reasons set forth herein, Defendants have violated the

26           Commodity Exchange Act.

27    193.   For these and the other reasons set forth herein, because of Defendants’ actions

28           Plaintiffs and the class have been directly damaged. For example, upon the sale


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 1           of their HEX, they have either lost money or failed to make the profit they

 2           would otherwise would have made upon the sale of their Hex but for the

 3           manipulation.

 4                              SECOND CAUSE OF ACTION

 5   (STRICT LIABILITY FOR VIOLATIONS OF THE COMMODITY EXCHANGE

 6                                            ACT)

 7                              (BINANCE AND BINANCE.US)

 8    194.   Plaintiff incorporates by reference all preceding and subsequent allegations.

 9    195.   An expansive variant of respondeat superior liability applies to violations of

10           the Commodity Exchange Act. In re Amaranth Nat. Gas Commodities Litig.,

11           587 F. Supp. 2d 513, 531-32 (S.D.N.Y. 2008) (affirmed by In re Amaranth

12           Natural Gas Commodities Litig., 2013 U.S. App. LEXIS 19444 (2d Cir. N.Y.,

13           Sept. 23, 2013).

14    196.   Private causes of action for respondeat superior liability for violations of the

15           Commodity Exchange Act comport with Congress’s view that private lawsuits

16           are critical to protecting the public. They cannot be contracted away in

17           agreements between principals and subsidiaries. Cange v. Stotler & Co., 826

18           F.2d 581, 594-95 (7th Cir. 1987)

19    197.   As pointed out by the Seventh Circuit, agency under the CEA is premised on

20           respondeat superior liability, and it is not necessary that the principal direct the

21           act or have knowledge of the agent's actions. Dohmen-Ramirez v. Commodity

22           Futures Trading Com., 837 F.2d 847, 858 (9th Cir. 1988) (citing, among other

23           sources, Cange, 826 F.2d at 589).

24    198.   Defendant Changpeng Zhao is the CEO of Binance.

25    199.   Binance directly owns CoinMarketCap.Com.

26    200.   Binance.US runs Binance as the term “Binance” is defined on

27           https://www.binance.com/en/terms          (the   “Binance   Terms”)   for   reasons

28           including:


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 1                a. That the website Binance.com takes US users Binance.US’s website

 2                   (assuming that there is a distinction at all).

 3                b. That Binance.US provides Binance Services, as that phrase is defined in the

 4                   Binance Terms, in that it utilizes internet or blockchain technologies

 5                   developed by Binance and one or more Binance ecosystem components such

 6                   as “digital asset trading platforms”

 7         201.   In an April, 2020 Forbes Magazine interview, the CEO of Binance.US,

 8                Catherine Coley, stated that she reported to BAM’s board of directors and that

 9                the other two people on the board were Defendant Zhao and Wei Zho, then

10                Binance’s CFO.50

11         202.   Upon information and belief, Binance.US currently lacks a CEO and the only

12                individuals remaining on its board are Binance executives.

13         203.   As a Binance Operator, Binance.US is bound by the Binance Terms as well as

14                by the terms of its supposed “brand partnership” with Binance and any

15                technology licenses with Binance.

16         204.   Binance.US is also responsible for ensuring that Binance’s US operations,

17                including those of its Operator and strategic partner CoinMarketCap.com,

18                comply with American law.

19         205.   In addition, Binance is responsible for helping CoinMarketCap.com provide

20                the public with “higher quality data[.]”51

21         206.   CoinMarketCap.com is a Binance Operator because, for among other reasons,

22                it runs the Binance Service “Info.”.

23         207.   As a Binance Operator, CoinMarketCap.com is bound by the Binance Terms

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        Jason Brett, How Catherine Coley of Binance.US Sees Digital Dollars As A ‘Binary’
25   Choice For America, FORBES (April 6, 2020),
26   https://www.forbes.com/sites/jasonbrett/2020/04/01/how-catherine-coley-of-binanceus-
     sees-digital-dollars-as-a-binary-choice-for-america/?sh=2918d09b4710 (last visited Aug.
27   31, 2021).
     51
        About CoinMarketCap,COINMARKETCAP, https://coinmarketcap.com/about/ (last
28
     visited Aug. 31, 2021).

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 1                as well as by the terms of its other contracts with Binance and Binance.US.

 2         208.   Because Yi He oversees all marketing efforts for Binance, Defendant

 3                CoinMarketCap.com’s promotion of Binance and Binance.US’s services

 4                would have been within her purview.

 5         209.   Ted Lin oversees all Binance strategic partners worldwide.

 6         210.   Binance.US and/or CoinMarketCap.com are Binance strategic partners.

 7         211.   Binance held CoinMarketCap.com and Biannce.US out to consumers as part of

 8                its “ecosystem” as encouraged them to rely on it as an accurate source of

 9                information for making cryptocurrency investment decisions, including on

10                Binance and Binance.US’s platforms. CoinMarketCap.com knew it was being

11                held out this way by Binance.

12         212.   Binance and Binance.US certified to consumers that CoinMarketCap.com’s

13                information was reliable.

14         213.   CoinMarketCap.com was to benefit Binance by attracting investors to visit the

15                site as a source of information and then funneling those investors to Binance

16                and Binance.US.

17         214.   CoinMarketCap.com was also to benefit Binance and Binance.US by

18                suppressing Hex’s ranking so that it would not be as visible as the directly

19                competitive Binance Coin and so that it would pose less of a competitive threat

20                to Binance Smart Chain.

21         215.   For these and the other reasons set forth herein, Binance and Binance.US are

22                jointly and severally liable for the torts of CoinMarketCap.com under the

23                common law and statutory version52 of respondeat superior applicable to

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       “The Ninth Circuit has yet to determine the relationship between the common law
25   doctrine of respondeat superior liability and liability under section 2(a)(1). However, the
26   Seventh Circuit has held that section 2(a)(1)) imposes strict liability, under a respondeat
     superior theory, on principals for the actions of their agents. Rosenthal & Co. v. CFTC,
27   802 F.2d 963, 966 (7th Cir. 1986). This liability is imposed even if the agents are not
     employees, if the principal authorizes or ratifies the acts or even just creates the
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     appearance that the acts are authorized. Id.

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 1             commodities.

 2      216.   Alternatively, for these and the other reasons set forth herein, the corporate veil

 3             should be pierced between Binance, Binance.US, and CoinMarketCap.com.

 4                                THIRD CAUSE OF ACTION

 5             (VIOLATION OF THE ARIZONA CONSUMER FRAUD ACT)

 6                               (CORPORATE DEFENDANTS)

 7      217.   Plaintiff incorporates by reference all preceding and subsequent allegations.

 8      218.   Arizona’s Consumer Fraud Act makes unlawful the “use or employment by

 9             any person of any deception, deceptive or unfair act or practice, fraud, false

10             pretense, false promise, misrepresentation, or concealment, suppression or

11             omission of any material fact with intent that others rely on such concealment,

12             suppression or omission, in connection with the sale or advertisement of any

13             merchandise whether or not any person has in fact been misled, deceived or

14             damaged thereby[.]” A.R.S. § 44-1522(A).

15      219.   Arizona law provides that “merchandise” includes securities as well as other

16             “intangibles.”.

17      220.   Cryptocurrencies, including HEX, are “intangibles.”.

18      221.   There is private right of action in Arizona for violations of the Arizona

19             Consumer Fraud Act.

20      222.   Where there is no conflict with Arizona law, “courts may use as a guide

21             interpretations given by the federal trade commission and the federal courts
22             to 15 United States Code sections 45, 52 and 55(a)(1).” A.R.S. 44-1522(C).
23      223.   15 U.S. Code § 45 provides: “[U]nfair or deceptive acts or practices in or

24             affecting commerce, are hereby declared unlawful.”

25      224.   Defendant CoinMarketCap.com advertised merchandise on behalf of

26
     We agree with the reasoning of the Seventh Circuit that because the language of section
27   2(a)(1) expressly imputes the agent's wrongdoing to the principal, it imposes strict
     liability.” Dohmen-Ramirez v. Commodity Futures Trading Com., 837 F.2d 847, 857-58
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     (9th Cir. 1988).

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 1           Blockchain.com, Binance, Binance.US and others.

 2    225.   Defendants CoinMarketCap.com, Binance, and Binance.US used deception,

 3           used a deceptive act or practice, used fraud, used false pretense, made a false

 4           promise, made a misrepresentation, or conceal, suppressed or omitted material

 5           facts concerning the true ranking of various cryptocurrencies in connection

 6           with the sale or advertisement of said merchandise.

 7    226.   For example, Binance directed users to CoinMarketCap.com for “objective”

 8           information regarding the true ranking of virtual currencies offered for sale by

 9           its subsidiary Biance.US.

10    227.   CoinMarketCap.com, meanwhile, advertised Binance.US’s services as a

11           place to buy and sell cryptocurrency and liked users who were interested in

12           purchasing such cryptocurrency to that website.

13    228.   CoinMarketCap.com also prominently displayed cryptocurrencies like Binance

14           Coin as being available for purchase, supposedly by virtue of their market cap,

15           but without showing a competitor entitled to be ranked nearby by virtue of its

16           market cap. Defendants did all this while holding CoinMarketCap.com

17           out as independent and objective.

18    229.   The Corporate Defendants intended that others rely upon the such unlawful

19           practices in evaluating which cryptocurrencies to buy, sell, or hold and at what

20           price such cryptocurrencies should be bought, sold, or held.

21    230.   For these and the other reasons set forth herein, the Corporate Defendants have

22           violated the Arizona Consumer Fraud Act.

23    231.   Plaintiff and the Class suffered damages as a result of Defendants’ unlawful

24           practices.

25    232.   Plaintiff and the Class have suffered damages due to Defendants’ fraud on the

26           market in that they received artificially suppressed prices in exchange for their

27           units of HEX.

28    233.   Alternatively, Plaintiff and the Class have suffered damages due to


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 1           Defendants’ failure to disclose the true ranking of HEX and the

 2           cryptocurrencies ranked above it by CoinMarketCap.com

 3    234.   Alternatively, Plaintiff and the Class have suffered damages in that they would

 4           not have sold HEX at the prices they did, if at all, if they had been aware that the

 5           market price had been artificially and falsely suppressed by Defendants’

 6           misleading statements.

 7    235.   Alternatively, Plaintiff Class relied on CoinMarketCap.com to apprise them of

 8           HEX’s true ranking and would not have sold HEX at the prices they did, if at

 9           all, had CoinMarketCap.com apprised them of HEX’s true ranking.

10                             FOURTH CAUSE OF ACTION

11    (CONTROL PERSON LIABILITY FOR VIOLATIONS OF THE ARIZONA

12                               CONSUMER FRAUD ACT)

13           (ALL DEFENDANTS OTHER THAN COINMARKETCAP.COM)

14    236.   Plaintiff incorporates by reference all preceding and subsequent allegations.

15    237.   Both federal and Arizona securities law makes Defendant

16           CoinMarketCap.com’s controlling persons jointly and severally liable for the

17           violations of the Arizona Consumer Fraud Act complained herein. See e.g.

18           Section 20(a) of the 1934 act; ARS §§ 44-1999, 44-2003(A). This standard

19           serves to inform violations of the Arizona Consumer Fraud Act.

20    238.   Each of the Defendants other than CoinMarketCap.com, by virtue of their

21           offices, stock ownership, agency, agreements or understandings, specific acts,

22           or other means had the ability to exercise direct or indirect control over the

23           management and activities of CoinMarketCap.com and its employees

24           complained of herein.

25    239.   Defendant Changpeng Zhao is the CEO of Binance.

26    240.   Binance directly owns CoinMarketCap.Com.

27    241.   Binance.US runs Binance as the term “Binance” is defined on

28           https://www.binance.com/en/terms          (the   “Binance   Terms”)   for   reasons


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 1                including:

 2                a. That the website Binance.com takes US users Binance.US’s website

 3                   (assuming that there is a distinction at all).

 4                b. That Binance.US provides Binance Services, as that phrase is defined in the

 5                   Binance Terms, in that it utilizes internet or blockchain technologies

 6                   developed by Binance and one or more Binance ecosystem components such

 7                   as “digital asset trading platforms”

 8         242.   In an April, 2020 Forbes Magazine interview, the CEO of Binance.US,

 9                Catherine Coley, stated that she reported to BAM’s board of directors and that

10                the other two people on the board were Defendant Zhao and Wei Zho, then

11                Binance’s CFO.53

12         243.   Upon information and belief, Binance.US currently lacks a CEO and the only

13                individuals remaining on its board are Binance executives.

14         244.   As a Binance Operator, Binance.US is bound by the Binance Terms as well as

15                by the terms of its supposed “brand partnership” with Binance and any

16                technology licenses with Binance.

17         245.   In addition, Binance is responsible for helping CoinMarketCap provide the

18                public with “higher quality data[.]”54

19         246.   CoinMarketCap.com is a Binance Operator because, for among other reasons,

20                it runs the Binance Service “Info.”.

21         247.   As a Binance Operator, CoinMarketCap.com is bound by the Binance Terms

22                as well as by the terms of its other contracts with Binance and Binance.US.

23         248.   Because Yi He oversees all marketing efforts for Binance, Defendant

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        Jason Brett, How Catherine Coley of Binance.US Sees Digital Dollars As A ‘Binary’
25   Choice For America, FORBES (April 6, 2020),
26   https://www.forbes.com/sites/jasonbrett/2020/04/01/how-catherine-coley-of-binanceus-
     sees-digital-dollars-as-a-binary-choice-for-america/?sh=2918d09b4710 (last visited Aug.
27   31, 2021).
     54
        About CoinMarketCap, COINMARKETCAP, https://coinmarketcap.com/about/ (last
28
     visited Aug. 31, 2021).

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 1           CoinMarketCap’s promotion of Binance and Binance.US’s services would

 2           have been within her purview.

 3    249.   Ted Lin oversees all Binance strategic partners worldwide.

 4    250.   Binance.US and/or CoinMarketCap were Binance strategic partners.

 5    251.   Under both federal and Arizona law, such control persons are liable jointly and

 6           severally with CoinMarketCap.com unless they acted in good faith and did not

 7           directly or indirectly induce the act or acts constituting the violation or cause of

 8           action.

 9    252.   Each of the Defendants other than CoinMarketCap.com knew or should have

10           known that CoinMarketCap.com was wrongfully fixing HEX’s ranking.

11    253.   Notwithstanding such defendants failed to take action to remedy the situation.

12    254.   To the contrary, Binance and/or Binance.US held CoinMarketCap.com out as an

13           objective and reliable source of information that consumers should rely on in

14           making their cryptocurrency trading decisions. Binance.US continued to use

15           CoinMarketCap.com to drive traffic to its exchange and thereupon sold various

16           cryptocurrencies at prices and/or volumes that had been artificially inflated by

17           CoinMarketCap.com’s market manipulation. These include, but are not limited

18           to, cryptocurrencies issued by Binance and cryptocurrencies owned by various

19           Defendants.

20    255.   For these and the other reasons set forth herein, all Defendants are jointly and

21           severally liable with CoinMarketCap.com for the acts and omissions

22           complained of above.

23    256.   The structure of CoinMarketCap itself is opaque and it is difficult for Plaintiff

24           to ascertain which of its corporate officers, directors, and shareholders are

25           control persons for the company. When their identities are discovered, this

26           Complaint will be amended as appropriate.

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 1                              FIFTH CAUSE OF ACTION

 2                                      (ANTITRUST)

 3                            (CORPORATE DEFENDANTS)

 4    257.   Plaintiff incorporates by reference all preceding and subsequent allegations.

 5    258.   Federal law and Arizona law both provide private causes of action for antitrust

 6           violations.

 7    259.   For the reasons set forth above, Plaintiff and the class have suffered actual

 8           injury fairly traceable to the alleged conduct, that can be redressed by a

 9           favorable decision.

10    260.   The Corporate Defendants’ conduct has also harmed competition for the

11           reasons set forth in the section entitled “Ill-Will of Defendants Towards Hex

12           and its Creators” and elsewhere above.

13    261.   The injuries sustained by Plaintiffs and the class were inextricably intertwined

14           with the Corporate Defendants’ efforts to limit public adoption of Hex’s

15           alternative model, and bolster public adoption of Binance and Binance.US’s

16           competing products, by manipulating the ranking of Hex and therefore its price

17           and public adoption.

18    262.   Should discovery reveal that one or more of the Individual Defendants are

19           liable for the antitrust violations complained of above, Plaintiff may seek leave

20           to amend this Complaint to allege this cause of action against them.

21                                  PRAYER FOR RELIEF

22    263.   On behalf of themselves and the Class, Plaintiffs request relief as follows:

23           a. That the Court assert jurisdiction over this action;

24           b. That the Court determines that this action may be maintained as a class

25              action, that Plaintiffs be named as Class Representatives of the Class, that

26              Davillier Law Group LLC be named as Lead Class Counsel of the Class, and

27              directs that notice of this action be given to Class members;

28           c. That the Court enter an order declaring that Defendants’ actions, as set forth


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 1              in this Complaint, violate the federal and state laws set forth above;

 2           d. That the Court award Plaintiffs and the Class damages in an amount to be

 3              determined at trial including punitive damages owing to Defendants’ wanton

 4              or reckless conduct, spite or ill-will, or reckless indifference to the interests

 5              of others and including treble damages under antitrust or other applicable

 6              law.

 7           e. That the Court enjoin Defendants’ unlawful acts as set forth in this complaint

 8              or provide any other equitable relief against Defendants to which Plaintiffs

 9              and the Class are entitled;

10           f. That the Court award Plaintiffs and the Class pre- and post-judgment interest

11              (including pursuant to statutory rates of interest set under state law);

12           g. That the Court award Plaintiffs and the Class their reasonable attorneys’ fees

13              and costs of suit;

14           h. That the Court order appropriate compensation to the Class Representative;

15              and

16           i. That the Court award any and all other such relief as the Court may deem

17              just and proper under the circumstances.

18                             DEMAND FOR JURY TRIAL

19    264.   Plaintiffs respectfully demand a trial by jury for all claims so triable pursuant

20           to Federal Rule of Civil Procedure 38(b) and any other applicable law.

21

22           Respectfully submitted, this 13th day of September, 2021.

23                                                                    By /s/Alexander Kolodin
24
                                                                           Alexander Kolodin
25                                                                             Chris Viskovic
                                                                            George Wentz, Jr.
26
                                                       (Pro hac vice application forthcoming)
27                                                               Davillier Law Group, LLC

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 1                                                         Attorneys for Plaintiffs

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